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17
                                UNITED STATES DISTRICT COURT
18
                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
19
20                                                  )       Civil Action No. 3:19-cv-0807-RS
      Innovation Law Lab, et al.,                   )
21
                                                    )
22          Plaintiffs,                             )       THE PARTIES’ JOINT STATEMENT
                                                    )       REGARDING THE STATUS
23                                                  )       OF APPEAL
      v.                                            )
24
                                                    )
25    Kirstjen Nielsen, et al.,                     )
                                                    )
26          Defendants.                             )
27                                                  )

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     THE PARTIES’ JOINT STATEMENT REGARDING THE STATUS OF APPEAL
     Innovation Law Lab v. Nielsen,
     Case No. 3:19-cv-0807-RS
                Case 3:19-cv-00807-RS Document 98 Filed 10/15/19 Page 2 of 4




 1
            Pursuant to the Order issued by this Court, see Dkt. 94, the parties hereby submit this
 2
     joint statement updating the Court as to the current status of the Ninth Circuit appeal concerning
 3
     the preliminary injunction imposed by this Court (Dkt. 73).
 4
            Oral argument in front of the Ninth Circuit concluded on October 1, and all relevant
 5
     briefing has been completed. The parties are waiting for the Ninth Circuit to issue a decision.
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     Innovation Law Lab v. Nielsen,
     Case No. 3:19-cv-0807-RS
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                Case 3:19-cv-00807-RS Document 98 Filed 10/15/19 Page 3 of 4



                                                    Respectfully submitted,
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     Dated: October 15, 2019                        Attorneys for Defendants
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                Case 3:19-cv-00807-RS Document 98 Filed 10/15/19 Page 4 of 4




 1                                     CERTIFICATE OF SERVICE
 2          I hereby certify that on October 15, 2019, I electronically filed the foregoing document
 3   with the Clerk of the Court for the United States Court of for the Northern District of California
 4   by using the CM/ECF system. Counsel in the case are registered CM/ECF users and service will
 5   be accomplished by the CM/ECF system.
 6
                                                    By: /s/ Archith Ramkumar
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 8                                                  Trial Attorney
                                                    United States Department of Justice
 9                                                  Civil Division
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     Innovation Law Lab v. Nielsen,
     Case No. 3:19-cv-0807-RS
